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                        IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                          MEMORANDUM DECISION AND
                                                      ORDER GRANTING LEAVE TO
          Plaintiff,                                 DISMISS THE INDICTMENT AND
                                                    GRANTING MR. JORDAN’S MOTION
          vs.                                                TO SUPPRESS

  DESMOND TRAVIS JORDAN,                                       Case No. 2:19-cr-125

          Defendant.                                          Judge Clark Waddoups


       Before the court is a Motion to Suppress filed by Defendant Desmond Travis Jordan,

which seeks to suppress all evidence obtained during a traffic stop on February 28, 2019, on the

basis that, among other things, the police searched Mr. Jordan’s car without a warrant or

probable cause. (ECF No. 22). The court held an evidentiary hearing on Mr. Jordan’s motion on

March 3 and 4, 2020 (the “Hearing”), at which it heard testimony from Detective David Allen,

the investigating officer, Officer Clinton “CJ” Moore, the K9 handler, and Dr. Mary Cablk, an

expert retained by Mr. Jordan. Following the Hearing, the court requested the parties to submit

proposed findings of fact and briefing, and set a date for the court to hear oral argument. Rather

than submitting briefing and proposed findings, on March 31, 2020, the United States moved for

leave to dismiss the Indictment against Mr. Jordan with prejudice due to “inter alia, a lack of

prosecutable evidence and for good cause.” (ECF No. 44). This motion is also now before the

court. Mr. Jordan does not oppose the dismissal. The court finds that the United States lacks

prosecutable evidence and that the motion to suppress is well taken. The court, therefore,

GRANTS the United States’ Motion for Leave to Dismiss the Indictment. Moreover, after

considering the merits of Mr. Jordan’s Motion to Suppress, and the evidence presented at the
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Hearing, it also GRANTS the Motion to Suppress. Under the Rule 48(a) of the Federal Rules of

Criminal Procedure, the United States is required to seek leave of court to dismiss an indictment.

Where the United States has proceeded on the merits of the charge and, as in this case, proceeded

to oppose a motion to suppress evidence for lack of probable cause, the court has a responsibility

to rule on the merits of the motion. Moreover, the development of the law requires that conduct

of the officers be assessed to provide guidance in the arena of K9 sniffs.

                                        BACKGROUND

   A. The Traffic Stop

       On February 28, 2019, Detective Allen, a four-and-a-half-year veteran of the West Valley

City Police Department, was conducting surveillance at an address he believed to be the residence

of Mr. Jordan. (ECF No. 41 at 6:4–7:20). While conducting surveillance, Detective Allen called

Officer Moore, a K9 officer for West Valley City Police Department, to alert him that he was

conducting surveillance and ask him to “be available” if a vehicle left the home so that Officer

Moore “could assist [him] on a traffic stop and a K9 sniff.” (Id. at 14:21–15:17).

       Shortly thereafter, Detective Allen saw a silver Mazda Protégé leave the home, and he

followed the vehicle. (Id. at 10:12–15). Detective Allen, based on prior investigation, believed

the vehicle was registered to Mr. Jordan, but he did not know that Mr. Jordan was driving the

vehicle when he began following it. (Id. at 8:11–9:8; 10:4–17). Almost immediately, Detective

Allen called Officer Moore and alerted him that Mr. Jordan had left the home, again putting him

on notice to be available with his K9. (See Video of Pursuit, admitted as Gov. Ex. 9 at Suppression

Hearing, hereinafter “Gov. Ex. 9”). Within one-and-a-half to two minutes of beginning to follow

the vehicle, Detective Allen initiated a traffic stop after observing that Mr. Jordan was speeding.

(ECF No. 41 at 10:18–11:2).



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        After informing Mr. Jordan of the reason for the traffic stop, Detective Allen obtained Mr.

Jordan’s identification and returned to his vehicle. He then called Officer Moore again and gave

him his location so that Officer Moore could respond to his location to conduct a K9 sniff; Officer

Moore responded that he was on his way. (Id. at 14:16–16:1, 33:21–34:11; Video of Traffic Stop,

admitted as Gov. Ex. 10 at Suppression Hearing, hereinafter “Gov. Ex. 10”). At this point, there

was no reason for the stop other than the traffic violation. Detective Allen then completed a search

of Mr. Jordan’s name through a database, the results of which showed that Mr. Jordan’s license

had been suspended. (ECF No. 41 at 11:19–13:20). Detective Allen returned to Mr. Jordan’s

vehicle, told Mr. Jordan that his license had been suspended, and inquired as to whether he had a

license in another state. (See Gov. Ex. 10). Detective Allen returned to his car, waiting for

approximately three minutes, until Officer Moore arrived at the location. (Id.). Detective Allen

informed Officer Moore that he was “waiting for a licensed driver” to come get Mr. Jordan’s

vehicle and that Officer Moore could therefore “take his time.” (Id.). Detective Allen then

returned to Mr. Jordan’s vehicle, asked him to step out of the vehicle and to call a licensed driver

to come pick up the vehicle. (Id.). It is undisputed that Mr. Jordan had indicated that a licensed

driver was available and would pick up the car. There is no indication that Detective Allen was

intending to impound the car. Officer Moore then approached with his K9, Tank, and initiated an

exterior sniff of the vehicle. (Id.).

    B. Tank’s Training

        Tank was imported from Slovakia in March 2018 to a kennel in Ogden. The West Valley

City Police Department got him from the kennel shortly thereafter. (ECF No. 41 at 113:23–

114:10). At an initial veterinary visit in April 2018, in which Officer Moore participated, Tank

was diagnosed with mild chronic bilateral hip degenerative joint disease and a suspicion for hip



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dysplasia. (Id. at 114:14–115:11). It is important for the K9 to be in good health because pain or

other health conditions may impact the dog’s ability to be successfully trained and perform.

        Officer Moore began training Tank through the Utah POST program (“Utah POST”) in

April 2018. Tank graduated from, and was certified by, that program in July 2018. (Id. at 56:22–

58:24; 115:12–17). Most of the training was related to narcotics. (Id. at 58:3–61:3). Tank was

trained to detect and respond to the odors of marijuana, heroin, cocaine, and methamphetamine.

(Id. at 50:3–8).

        In its training course, Utah POST recognizes two tiers of behaviors that K9s may exhibit

in response to the odor of narcotics. One is an innate natural response; the other is a trained

response. To be certified as a drug dog, the animal must consistently demonstrate the trained

response when the target odor is present. A dog will not pass certification if it only demonstrates

the innate natural response, which may also be demonstrated in response to any item of interest to

the dog, such as food or the scent of another animal. In its handbook, Utah POST characterizes

“innate natural behaviors that a dog does when it smells something of interest” as an “alert.” Such

a natural response may include a long list of dog behaviors, including “[c]losed mouth sniffing”

and “change in the movements of the dog seeking the highest concentration.” (ECF No. 42 at

199:8–24). Practically, the list of behaviors includes any change in the dog’s actions that may

indicate interest or excitement by the dog. The list is not specific or distinctive to any particular

item of interest to the dog. The Utah POST manual does not define the particular behavior or any

required number of behaviors necessary to conclude that the dog has focused on a particular odor

or that the odor in which the dog is showing interest in the target order. These alert behaviors are

not unique to detecting the odor of narcotics, but are “consistent with the dog smelling anything

of interest.”



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       To be certified as a drug dog, Utah POST requires the dog to demonstrate behavior that a

dog is trained to perform when it detects the highest concentration of a target odor. (Id. at 199:4–

201:3). The Utah POST manual defines this behavior as an “indication” or “trained final

response.” The manual states it is “the specific taught behavior that Tank uses to tell [his] handler

‘I am detecting a target odor.’” (ECF No. 41 at 116:5– 7). It is intended to be distinctive behavior

from the natural behavior a dog demonstrates in response to any item of interest. In Tank’s case,

his trained final response was to “stop movement in front of the source of the odor” and “sit or lay

down and focus on the sources of that odor.” (Id. at 117:7–19). Because Tank’s trained final

response is a “specific instructed behavior,” the only time he exhibits it is when he has detected

the odor of any of the four narcotics he was trained to find—marijuana, heroin, cocaine, and

methamphetamine. (Id. at 118:9–119:18). This trained final response is imperative because it is

a “definitive signal” that is “deliberately taught to a dog so that the dog understands this is how I

signal that I have target odor”—it is an objective display that removes the “subjectivity that goes

into” reading a dog’s behavior. (ECF No. 42 at 245:4–246:2).

       As part of Tank’s training, Officer Moore regularly worked with Tank to perform his

trained final response. (Id. at 119:2–120:14). Once Tank completed enough of these training

searches that he had “shown that he can locate narcotics and bypass any other novel odors that

might be present in these real-world setting,” he was tested for certification.   (Id. at 59:6–14).

His certification requirements required that he be able to consistently perform his trained final

response during his training searches. (Id. at 120:11–121:10). Officer Moore testified that after

Tank was certified, they continued to regularly train, both for obedience and drug locating. (See

id. at 134:13–19).




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       Notwithstanding Officer Moore’s testimony, evidence at the Hearing raised serious

questions about the sufficiency and veracity of Tank’s training. First, the police training records

supported that between July 2018, when Tank was certified, and November 2018, Officer Moore

only conducted four narcotics trainings with him. (Id. at 134:13–135:14; see also Gov. Ex. 7).

Moreover, from October 20, 2018 through March 1, 2019, a period that enveloped the search of

Mr. Jordan’s vehicle, Officer Moore only performed one narcotic training exercises that involved

searching an area that did not contain narcotics, compared to 27 “normal” exercises where there

were narcotics present to be found. (Id. at 135:22–137:6; Def. Ex. 4). As discussed below, it is

important for tests to be conducted in which neither the handler nor the supervising judge knows

whether narcotics are present. Otherwise, the handler will continue the search until the drugs are

found, and cuing may defeat the value of the dog being an objective basis for detecting the

presence of the drugs. During that same period, records show that Officer Moore did not perform

any “negative controlled exercises” and only performed one “blind” exercise. (ECF No. 41 at

137:7–138:12; Def. Ex. 4).1

         To address the importance of well-founded training and the need for an objective trained

final response, Mr. Jordan called Dr. Mary Cablk. Dr. Cablk is an expert with 20 years’

experience studying and teaching K9 detection and training. (ECF No. 42 at 172: 4–5). Dr.

Cablk is a member of the American Academy of Forensic Sciences and the Nevada POST K9

Committee. She is a POST K9 Evaluator in Nevada and a POST instructor in California; has

assisted numerous law enforcement agencies in training and deploying K9s; has personally

trained K9s and K9 handlers; and has extensively researched, lectured, and offered testimony on



 1
   While Officer Moore suggested these records may be incomplete, the court finds no basis to support
such a suggestion and does not find his testimony on the subject to be credible. (See ECF No. 41 at
138:12—142:22).
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the topics of K9 training, detection, and deployment. (Id. at 171:3–175:4). The court finds the

testimony and opinions that Dr. Cablk offered at the Hearing to be well founded, credible, and

persuasive. Dr. Cablk’s testimony and opinion was not countered by any opposing expert

testimony and was not meaningfully questioned on cross-examination. The United States did not

offer any expert testimony at the Hearing. 2

        A critical aspect of Dr. Cablk’s testimony was her discussion of handler bias or “cuing.”

(See id. at 178:7–183:3). The United States offered no testimony to contradict or challenge Dr.

Cablk’s testimony and, indeed that testimony appears to be well supported in the scientific

literature. She explained that because dogs are “extremely sensitive to our body positioning and

our facial expressions,” a handler, even “the best intentioned handler” with the “best of dogs”

can inadvertently impart bias on a dog, leading the dog to potentially “do its final indication

whether or not it has target odor.” (See id. at 178:7–179:16). In short, cuing “interferes with

independence of the dog, [and] interferes with the definitiveness of the [dog’s] signal.” (See id.

at 178:24–179:4). Thus, when the handler knows, or believes, drugs may be present, the dog

will sense the cuing from the handler and continue to search until the handler cues the animal to

discontinue the search.

        Dr. Cablk opined that in order to properly train a K9, a program must take steps to

prevent handler bias and cuing, namely through blind training. (Id. at 182:23–183:3). Single-

blind training occurs when the handler does not know how many, if any, quantities of narcotics

are hidden in a scenario, but someone else present does. (Id. at 185:10–14). The third person



 2
    While the United States orally requested to postpone the hearing so that it could present Mr. Wendell
Nope as a rebuttal witness, the court denied the request on the grounds that the United States failed to take
sufficient steps to either arrange for Mr. Nope to testify or to request additional time, before the hearing,
so that it could make such arrangements. Moreover, the court has already heard from Mr. Nope on this
topic. See United States v. Esteban, 283 F. Supp. 3d 1115 (D. Utah 2017).
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may be present to judge whether the dog passed the test. Such a procedure is important because

when a handler knows how many hides are present in a scenario, he will continue to search with

his dog until the dog finds them all, which does not create a “realistic scenario that mimics what

happens on the street.” (Id. at 188:5–18). Single-blind testing is important to train a dog to work

independently and in turn gives a handler confidence in his dog. (Id. at 188:19–25).

Nevertheless, single-blind training is insufficient to prevent bias and cuing. Even if the handler

does not know how many hides are present in a scenario, research shows that anyone who is

present for the training and knows the quantity and/or location of the hidden narcotics, even the

judge, can inadvertently cue the K9. (Id. at 185:19–186:9). Thus, in Dr. Cablk’s opinion, the

“only means that you can use to demonstrate the reliability of a K9” is to have no one who is

present during the training know how many, if any, hides are present. (See id. at 186:4–9). This

is considered double-blind training.

        Utah POST does not use double-blind training or testing (id. at 189:3–4), and its

certification testing is not even done single-blind, as the handler knows exactly how many hides

will be present. (Id. at 187:9–188:4). The general absence of, and seemingly unawareness of the

importance of, blind training as part of the Utah POST program was demonstrated by Officer

Moore’s equating blind training with “controlled negative training.” (Compare ECF No. 141 at

62:13–63:18 with ECF No. 142 at 184:3–16). Given these deficiencies, along with additional

aspects of the program that she found problematic, 3 Dr. Cablk opined that Utah POST is not a

valid assessment of a K9’s ability to detect the odor of target narcotics.




 3
    These problematic aspects included Utah POST’s failure to randomize the number of its hides (see id.
at 189:17–192:12); its use of a complicated grade point average to certify dogs instead of a simple
pass/fail criteria, which removes any subjectivity (id. at 192:13–194:1); the quantities of drugs it uses as
its hides, which she believes lacks standardization (id. at 194:2–195:24).
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         Moreover, through cross-examination, it was demonstrated that Officer Moore was often

not careful in accurately recording the training with Tank he did complete. Critical information

about whether the training exercise involved a negative hide or whether Officer Moore knew that

fact prior to the training was not recorded. From the records, it was impossible to determine

whether Tank was in fact reliable or whether he was being intentionally or unintentionally cued

to the presence of drugs.

      C. Tank’s Sniff

         Tank’s sniff of Mr. Jordan’s vehicle lasted approximately three minutes. (See Gov. Ex.

10). A review of the video shows that Officer Moore walked Tank around the vehicle three full

times and made numerous additional passes of both sides of the vehicle and the vehicle’s trunk.

(Id.). Officer Moore repeatedly directed Tank’s attention to certain areas of the vehicle, namely

the trunk, driver’s side door, and passengers’ doors, by pointing to those areas and giving Tank a

command or by tapping on that area of the vehicle. (Id.). Throughout the search, Tank’s attention

was often drawn away from the vehicle, and Officer Moore was repeatedly required to physically

guide him back to the vehicle to continue sniffing the same. (See id.). Sometimes Tank was drawn

to passing traffic. Other times he was drawn to something of interest on the sidewalk. The video

does not confirm a consistent and intense interest by Tank in the vehicle or any odor coming from

it.

         Tank did not perform a trained final response while conducting a sniff of Mr. Jordan’s

vehicle. (See ECF No. 41 at 123:20–21). He never demonstrated any clearly objective behavior

communicating that he had detected a target odor. Rather, Tank demonstrated the innate natural

behaviors of a dog going through the paces of sniffing the vehicle. Officer Moore relied on Tank’s

natural behaviors, which he perceived as “alerts,” to conclude that Tank had detected the odor of



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narcotics emitting from Mr. Jordan’s vehicle. (See id. at 90:14–20, 143:15–19 (“Q: The thrust of

your direct is saying, I know he didn’t do the trained final response for the indication, but I can

tell, as his handler, from his behavior that I can see, that he is detecting narcotic, right? A: Yes.”)).

There is nothing on the video of the sniff from which a third person can objectively conclude that

Tank had performed to respond as he had been trained to do when he detected a target odor. Indeed,

Dr. Cablk, as a trained animal observer, reached the opposite conclusion, as discussed hereafter,

that Tank’s behavior repeatedly indicated he had not detected drugs.

        At the conclusion of the sniff, Officer Moore appears to tell Detective Allen “yep,” and

Detective Allen informed Mr. Jordan that the dog “thinks there is something in the car” and that

he was therefore going “to make sure” there was nothing in the vehicle. (Id.). Mr. Jordan

acknowledged that he smoked marijuana, but “not much,” and denied that there were any drugs in

the vehicle. (Id.). Officers then conducted a search of Mr. Jordan’s vehicle and found “a small

amount of marijuana,” a digital scale, and a firearm. (ECF No. 41 at 164:4–7). A review of the

video shows that the “small amount of marijuana” appears to have been in the form of residue in

an empty “pipe.” (See Gov. Ex. 10). Mr. Jordan was thereafter charged with possession of

marijuana and felon in possession of a firearm.

        At the Hearing, Dr. Cablk reviewed each critical segment of the video of Tank’s sniff.

She explained what the dog was doing and stated her interpretation and opinions of the actions of

Tank and Officer Moore shown therein. (See ECF No. 142 at 207:7–217:15). Based on her

experience and training, she stated there was no objective basis upon which Officer Moore could

interpret Tank’s alleged “alerts,” to communicate the presence of drugs. Among other things, Dr.

Cablk testified that some of the alleged “alerts” were simply not present in the video, 4 that none


 4
  Officer Moore was not wearing a body camera during the sniff, although he was required to under
West Valley City Police Department policy. (ECF No. 41 at 77:4–14; 111:6–113:21). The only video of
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of the cited behaviors were unique to a target odor of narcotics, that Tank’s interest in the

driver’s side door could have easily been due to the presence of Detective Allen’s familiar scent

in the area, and that had Tank detected the odor of narcotics, there was nothing about the

scenario or environment that would have prevented him from performing a trained final

response. Dr. Cablk then offered her own analysis of Tank’s behavior, stating that Tank sniffed

the vehicle and then cleared and came off it “because he [didn’t] have target odor,” a fact that he

“attempt[ed] to communicate that to his handler multiple times.” (Id. at 217:3–9). In

conclusion, she found that Tank’s behavior in the sniff provided “nothing” that the officers could

learn. (Id. at 217:10–13).

                                               ANALYSIS

        Mr. Jordan moves to suppress the evidence obtained from the search of his vehicle on the

ground that, among other things, the officers lacked probable cause to conduct the search. The

officers’ finding of probable cause was predicated on Tank’s sniff of the vehicle and Officer

Moore’s belief and representation that Tank had determined that there were narcotics in the

vehicle. (See Gov. Ex. 10). Mr. Jordan argues that Tank’s sniff did not and could not reasonably

support a finding of probable cause for the officers to search his vehicle.

        The Tenth Circuit has stated that a dog’s alert may give officers “probable cause to

search [a] car and its contents.” United States v. Engles, 481 F.3d 1243, 1245 (10th Cir. 2007);

see also United States v. Ludwig, 641 F.3d 1243, 1250–51 (10th Cir. 2011) (finding “a positive

alert by a certified drug dog is generally enough, by itself, to give officers probable cause to



the sniff was that captured by Detective Allen, who stood a distance from the vehicle in a stationary
position. (See Gov. Ex. 10). Given the angle of Detective Allen’s camera, portions of Tank’s and Officer
Moore’s actions are not visible in the footage, as they are obstructed by the vehicle. To the extent that
Officer Moore testified of events occurring that are not depicted on the video, the court finds the video to
be the more reliable source of information.
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search a vehicle”). The Tenth Circuit has also said, a K9 need not display a “final indication,”

and that probable cause may be supported by a dog’s “alert.” See United States v. Parada, 577

F.3d 1275, 1281–82 (10th Cir. 2009); see also United States v. Rosborough, 366 F.3d 1145, 1153

(10th Cir. 2004) (recognizing that a dog’s “alert . . . does not implicate the precision of a surgeon

working with scalpel in hand,” and that probable cause does not require such exaction). In none

of these cases, however, does the Tenth Circuit analyze whether the “alert” testified to by the dog

handler was sufficiently distinct from the dog’s natural behavior to be objectively identifiable as

a response to narcotics. Behavior by the dog that is so subjective that only the handler may be

able to identify it risks allowing a search in violation of the Fourth Amendment that is based on

nothing more certain that the officer’s hunch that drugs may be present.

       Allowing a K9’s alert to support a finding of probable cause to search a vehicle on the

unverifiable, subjective interpretation of the handler would seriously erode long protected

Constitutional rights. K9 responses have been found sufficient to support probable cause

sufficient to satisfy the Constitution because the dog’s proven ability to detect the odor of a

narcotic reduces the risk that an officer is simply acting on a hunch. This protection of the

Constitutional right, however, becomes meaningless if the dog’s communication of its detection

of drugs is so subjective that it is nothing more certain than a reflection of the handler’s hunch

that drugs must be there. Because of this risk, a search based on such behavior must always be

subject to review and challenge. The review and challenge is met by demonstrating both the

handler and the canine’s proper training and proven reliability. See e.g., Ludwig, 641 F.3d at

1251 (noting that “it surely goes without saying that a drug dog’s alert establishes probable cause

only if that dog is reliable”); see also United States v. Ludwig, 10 F.3d 1523, 1528 (10th Cir.

1993) (observing that “[a] dog alert might not give probable cause if the particular dog had a



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poor accuracy record”). Moreover, over-arching the Tenth Circuit’s willingness to recognize

alerts as sufficient is the Supreme Court’s long-standing recognition that “the ‘touchstone of the

Fourth Amendment is reasonableness.’” Ohio v. Robinette, 519 U.S. 33, 39 (1996) (quoting

Florida v. Jimeno, 500 U.S. 248, 250 (1991)). Here, Mr. Jordan has raised serious questions as

to adequacy of Officer Moore and Tank’s training and reliability, as well as to the reasonableness

of this search.

    A. The court has serious concerns about Tank’s training and reliability.

        In allowing a K9’s indication, or even its alert, to serve as a basis for finding probable

cause to search an individual’s personal property, we, as a society, are placing an enormous

amount of trust, and indeed our very civil liberties, in the responses of creatures that have limited

ability to communicate with us. It is therefore imperative that a K9 be meticulously trained so

that we can be assured that its signals are clear and direct and that we, as a community, can be

confident in the reliability of the message that the K9 is communicating. The Tenth Circuit has

recognized that in assessing the reliability of a K9, “courts typically rely on the dog's

certification.” Ludwig, 641 F.3d at 1251. The courts have consistently recognized that that the

training necessary to support certification must be completed successfully, that the certification

must be current and updated through ongoing training, and that both must be supported by

accurate and timely kept records. Here, the manner by which Tank was trained and certified,

together with the supporting records, does not warrant such confidence.

        First, the court finds, based on the testimony of Dr. Cablk and the records before it, that

Utah POST Training inadequately addresses, and therefore fails to remove the risk of,

inadvertent handler bias or cuing. Specifically, Utah POST’s failure to implement double-blind

training raises questions as to the independence of its K9s and casts doubt as to whether the K9s



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are alerting or indicating because they actually detect the odor of narcotics or because they have

learned that displaying such action is the best way to please their masters. This doubt is not

allayed by Utah POST’s certification process, as the final test that a K9 must pass in order to be

certified is not even performed single-blind. As such, the K9’s handler in the exam, who is the

same officer who has worked with the K9 for months and has a clear interest in having his K9 be

certified, knows exactly how many hides will be present in the exam and can therefore continue

to search until the K9 finds them all. (ECF No. 42 at 187:9–188:18). Such an examination does

not reflect a real-world setting and does not, therefore, indicate that a passing K9 can reliably

detect, and communicate his detection of, narcotics in the field. The training and certification

should objectively demonstrate that the dog can find the hides, and all of the hides, only when

neither the handler nor the judge knows how many or where they were placed. Such a change in

the training and certification would be easy and inexpensive.

       Generally, the court should rely on the credentialing organization to manage the

certification and training 5. But that assumes that organization bases its credentialing on accepted

and proven procedures. It also assumes that the organization consistently applies those

procedures and that the K9 at issue has met the requirements. The requirements include repeated

examination and testing and medical history. In this case, Tank’s medical history and training

raise additional questions as to his reliability. First, it is clear that Tank had hip problems that

could be painful to him and therefore interfere with his abilities to perform his assigned tasks.

(See ECF No. 41 at 114:14–115:11). Second, the court’s above-discussed concerns with Tank’s

training and certification are enhanced by the nature and infrequency of Tank’s post-certification



5
 The Tenth Circuit has stated that ordinarily courts should limit their task in review performance
of K9 “to assessing the reliability of the credentialing organization, not individual dogs.” See
Ludwig, 641 F.3d at 1251.
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training. Tank only underwent four narcotics trainings in the four months after he was certified,

and in the following months almost all of his narcotics training consisted of scenarios that made

it impossible for Tank to make a false-identification of narcotics. (See id. at 134:13–137:6; Def.

Ex. 4; Gov. Ex. 7). These trainings are insufficient to maintain, let alone make up for the

deficient nature of, Tank’s initial training and certification and prepare him to perform in the real

world. Moreover, the records of the training are incomplete and not reliable, as Officer Moore

testified that sometimes he filled in reports from “muscle memory” and on occasion simply

disregarded filling in boxes or providing information. (ECF No. 41, at 146) To meet the

requirement to allow a K9’s responses to satisfy the Constitutional requirement for probable

cause, there must be a record supporting both the reliability of the K9 and the handler. There are

lapses in this case as to both.

        Given these concerns, the court declines to recognize Tank’s certification by Utah POST

as proof that the results of his sniff of Mr. Jordan’s vehicle were reliable.

    B. The court has serious concerns as to whether the search of Mr. Jordan’s vehicle, and
       specifically the officers’ finding of probable cause, was reasonable.

        Whether a search is “reasonable” under the Fourth Amendment “is measured in objective

terms by examining the totality of the circumstances.” See Robinette, 519 U.S. 33, 39 (1996)

(emphasis added); see also United States v. Hernandez, 847 F.3d 1257, 1268 (10th Cir. 2017)

(observing that “the Fourth Amendment requires at least ‘some minimal level of objective

justification for making [a] stop.’” (quoting United States v. Sokolow, 490 U.S. 1, 7 (1989))).

Here, an objective viewing of all aspects of Mr. Jordan’s traffic stop and sniff raises serious

questions as to the reasonableness of the Officers’ search of Mr. Jordan’s vehicle.

        Officer Moore’s finding of probable cause here was purely subjective. As discussed

above, a K9’s trained final response is an objective and “definitive signal” that a dog has


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detected the odor of a narcotic in a vehicle, but here Tank did not display his trained final

response. (See Compare ECF No. 41 at 123:20–21 with ECF No. 42 at 245:4–246:2). Rather,

the determination that Tank had detected narcotics was made by Office Moore and was based on

his interpretation of Tank’s behavior and his subjective classification of those actions as “alerts.”

(See ECF No. 41 at 90:14–20, 143:15–19 (“Q: The thrust of your direct is saying, I know he

didn’t do the trained final response for the indication, but I can tell, as his handler, from his

behavior that I can see, that he is detecting narcotic, right? A: Yes.”). Officer Moore conceded

on cross-examination that the behavior he observed by Tank that he perceived as indicating the

presence of drugs would not have satisfied the requirements for certification. (ECF No. 41, at

157). The purely subjective nature of Officer Moore’s interpretation is enhanced by the fact that

after objectively viewing footage of the sniff, Dr. Cablk, an expert with over 20 years’ of

experience in reviewing and judging K9 detection, concluded that the sniff indicated “nothing.”

(ECF No. 42 at 217:10–13). All she observed was innate natural responses to the K9 going

about the search. Nothing was definite and certainly not a clear communication by the dog that

he had detected narcotics. The court reached the same conclusion after objectively viewing the

sniff twice at the Hearing and numerous more times in drafting this order. Indeed, absent Officer

Moore’s mono-syllabic “yep,” the video contains no evidence that could be interpreted by an

objective viewer as showing, let alone indicating, that Tank had detected the scent of narcotics in

Mr. Jordan’s vehicle.

       Thus, the finding of probable cause here was based solely on Officer Moore’s subjective

interpretation of what he believed Tank’s actions meant. Such a finding cannot be considered

“reasonable” under the Fourth Amendment, as the Supreme Court has long held that more than

such “inarticulate hunches” are necessary in order to permit “intrusions upon constitutionally



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guaranteed rights,” recognizing that “[i]f subjective good faith alone were the test, the

protections of the Fourth Amendment would evaporate, and the people would be secure in their

persons, houses, papers and effects, only in the discretion of the police.” See Terry v. Ohio, 392

U.S. 1, 22 (1968) (quotations and citations omitted). Indeed, even in the Tenth Circuit, where

alerts may be sufficient to support probable cause, a court must find an officer’s testimony that

he believed his dog alerted to be credible in order to sustain a finding of probable cause. See

Parada, 577 F.3d at 1281.

        The court does not find Officer Moore’s interpretation of Tank’s “alerts” to be credible,

as the “alerts” that Tank allegedly displayed cannot be objectively viewed as a clear

communication that he had detected the odor of narcotics. Rather, the actions on which Officer

Moore relied—Tank moving his head back and forth quickly (id. at 79:12–80:18, 124:5–6,

144:2–4); going back to the vehicle on his own (id. at 80:22–81:6, 82:3–7, 87:16–88:7); pinning

his ears back (id. at 82:11–21, 124:3–4, 143:21–24); intensifying his sniffing (id. at 143:25–

144:1); and sniffing the wind (id. at 82:11–21)—were not unique to a dog smelling narcotics, but

were instead “consistent with the dog smelling anything of interest.” (ECF No. 42 at 200:12–

24). Dr. Cablk explained that “no matter what the dog is smelling, they're going to close their

mouth so that they can funnel that air and those molecules in through their nose. So it cannot be

that -- that closed mouth intense sniffing is specific to target odor. That’s what they do for

anything that they sniff.” (Id.). 6 The court accepts Dr. Cablk’s testimony as credible and

persuasive and concludes that while the behavior upon which Officer Moore relied may have

indicated that Tank was smelling something of interest, the sniff lacked objective behavior by



 6
    Moreover, Utah POST’s own manual indicates that Tank pulling away from the vehicle and sniffing
the wind was inconsistent with the recognized alerts of “resisting leaving an area of interest” and resisting
distractions. (ECF No. 41 at 154:15–156:5; Def. Ex. 5).
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which a reasonable observer could have determined that Tank was detecting the odor of

marijuana and not that of a squirrel, sandwich, or anything else that piqued his interest. Tank’s

behavior, especially the breathing through the mouth and moving his head back and forth, may

also have been nothing more than the dog performing his search. Without a clear indication,

there is no way for an objective observer to conclude Tank had detected the odor of any narcotic.

        Finally, events leading up to the sniff indicate that it was inevitable the officers were set

upon searching Mr. Jordan’s car. Detective Allen testified that approximately six months before

Mr. Jordan’s car was searched, he had observed Mr. Jordan conduct a hand-to-hand narcotics

transaction. (ECF No. 41 at 7:25–8:10). Then, approximately two weeks before the search,

Detective Allen witnessed what he believed was a narcotic transaction being conducted from a

silver Mazda Protégé, which he later learned belonged to Mr. Jordan. (Id. at 8:11–9:8). Thus, on

February 28, 2019, when Detective Allen began performing surveillance at the address at which

he believed Mr. Jordan lived, he had suspicion that Mr. Jordan dealt narcotics and used his silver

Mazda Protégé in those transactions. Indeed, Detective Allen referred to Mr. Jordan as his

“primary” for the investigation, which he defined as someone “who we have reason to believe is

either selling narcotics or is in possession of a firearm or has a felony warrant, that we’re going

to arrest.” (ECF No. 141 at 20:3–9). This suspicion led Detective Allen to contact Officer

Moore twice to put him on notice to be ready to have a K9 sniff Mr. Jordan’s vehicle, just in case

he had an opportunity to pull him over—first while he was outside the home conducting

surveillance (see id. at 14:21–15:17) and again shortly after he began following Mr. Jordan’s

vehicle (see Gov. Ex. 9).7 Thus, it appears to the court that the primary purpose of Detective


 7
    On this point, the record before the court is unclear. Detective Allen testified that he first called
Officer Moore while he was outside of Mr. Jordan’s home, but unlike the second call made while
Detective Allen was driving, this call was not included in the video footage presented to the court. As
such, it is possible that Detective Allen’s testimony was referring to the call he made while driving, and
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Allen’s surveillance was to initiate a traffic stop on Mr. Jordan’s silver Mazda Protégé so that a

K9 could perform a sniff of the vehicle, and officers could then search the vehicle.

        Viewing this evidence together with Officer Moore’s completely subjective

determination that Tank had detected the odor of narcotics in Mr. Jordan’s vehicle one must

question whether a reliable and objective assessment of probable cause could have been made.

The “totality of the circumstances” suggests that when Officer Moore arrived on site, he was

already of the belief drugs were in the car and that this belief influenced him, perhaps even

inadvertently, to interpret Tank’s uncertain “alerts” as supporting a conclusion of probable cause.

A K9 sniff cannot simply be a formality or an excuse to support a search. In this case, the court is

reluctant to and does not reach that conclusion. The court recognizes that narcotics are a serious

problem and that the officers often do their work in dangerous and uncertain circumstances. The

court also recognizes that the officers understand and take their Constitutional duties seriously.

Nevertheless, in the heat of the hunt, judgment can be compromised and even zeal to apprehend

a perceived criminal may influence a decision that would not otherwise be justified. The court

does not conclude that either Detective Allen or Officer Moore gave sway to such pressures, but

the risk of such clouded judgment is the very reason that the K9’s behavior signaling the

presence of drugs must be clear, distinctive, and objectively observable. That is the very reason

the Utah POST certification requires an “indication,” not just natural innate behavior. A search,

like the one conducted here, based on such subjective behavior that only the handler can see it

could hardly be considered “reasonable” under the Fourth Amendment. As such, Mr. Jordan’s

Motion to Suppress (ECF No. 22) is GRANTED.


that only one call was made before the traffic stop was initiated. The court notes that its analysis is the
same whether Detective Allen called Officer Moore once or twice before initiating the traffic stop. The
court also notes that Detective Allen called Officer Moore a third time, after he had initiated the traffic
stop, to provide Officer Moore with his location so that he could perform the sniff. (See Gov. Ex. 9).
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                                        CONCLUSION

       For the reasons stated herein, Mr. Jordan’s Motion to Suppress (ECF No. 22) is HEREBY

GRANTED. Further, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, for good

cause shown, and because the United States lacks prosecutable evidence, the United States’ Motion

for Leave to Dismiss the Indictment against Mr. Jordan with Prejudice (ECF No. 44) is also

HEREBY GRANTED.



       DATED THIS 21st day of April, 2020.



                                                    BY THE COURT:




                                                    _______________________________
                                                    Clark Waddoups
                                                    United States District Judge




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